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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION AT LONDON
  DAVID WILSON, as Administrator of the
  Estate of Lisa Noble, Deceased, Plaintiff


  VS.                                                  C.A. No.: 6:17-157-KKC

                                                      SECONDED AMENDED NOTICE OF
                                                      TAKE DEPOSITION OF TERRANCE
                                                      COOPER

  BEACON TRANSPORT, LLC and
  TERRAN COOPER, Defendants




        Please take notice that Plaintiff, by the undersigned counsel, will proceed to take the deposition

on February 19, 2018 at 1:00 p.m. at the office of Benson, Risch & Lange PLLC, 401 West Main

Street, Suite 2150, Louisville, Kentucky, 40202 of Defendant Terrance Cooper in light of Mr.

Cooper’s failure to appear for his initial deposition scheduled herein and agreement to appear as

noticed herein. This deposition is to be taken pursuant to and for all purposes provided under the

Federal Rules of Civil Procedure by video and stenographically. The deposition will continue

from day to day, Saturdays, Sundays and Court Holidays excluded, until completed.



                                        Respectfully Submitted,



                                        __S/Timothy D. Lange___________________________
                                        TIMOTHY D. LANGE
                                        Benson Risch & Lange, PLLC
                                        One Riverfront Plaza
                                        Suite 2150
                                        401 W. Main Street
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                                     ATTORNEYS FOR PLAINTIFF



                               CERTIFICATE OF SERVICE

       This is to certify that a true and accurate copy of the foregoing with attendant documents
produced has been served upon counsel on this 15th day of February, 2018 by regular U.S. Mail
to

Hon. Harlan E. Judd, III
Harlan E. Judd & Associates, P.S.C.
869 Broadway Avenue
P.O. Box 51093
Bowling Green, Ky 42104
(and also by email to Harlanjuddlaw@gmail.com)


and to Video Court Reporting Services, Inc.
by electronic notice only.
                                                   ____s/ Timothy D. Lange___
                                                   Timothy D. Lange




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